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                         UNITED STATES DISTRICT COURT
                                ARIZONA - FLAGSTAFF
                                     June 21, 2022
USA v. Matthew Christopher Riser               Case Number: CR-22-08054-001-PCT-CDB

                                 ORDER SETTING CONDITIONS OF RELEASE                     ,. ._✓1-
                                                                                              , /_Fl_LEO_ _ _~~~LOD~GE~D-,
l2J PERSONAL RECOGNIZANCE                                                                 _RECEIVED         _COPY
•     AMOUNT OF BOND:
                                                                                                 JUN 2 3 2022
      • UNSECURED
      • SECURED BY:
                                                                                          CLb~~,-¼~~~~~118~RT
      SECURITY TO BE POSTED BY:
                                                                                          BY                    DEPUTY
NEXT APPEARANCE: To be determined or as directed through counsel
l2J 123 North San Francisco Street, Flagstaff, Arizona 86001.
Pursuant to 18 U.S.C. § 3142(c)(l)(B), the Court may impose the following least restrictive condition(s) only as
necessary to reasonably assure the appearance of the person as required and the safety of any other person and the
community.

IT IS ORDERED that defendant is subject to the following conditions and shall:
IZI        promise to appear at all proceedings as required and to surrender for service of any sentence imposed.
IZI        not commit any federal , state or local crime.
IZI        cooperate in the collection of a DNA sample if the collection is authorized by 42 U.S.C. § 14135a.
IZI        IMMEDIATELY advise his attorney and Pretrial Services, in writing, PRIOR to any change in residence
           address, mailing address and telephone number.
           maintain or actively seek employment (combination work/school) and provide proof of such to Pretrial
           Services.
           not travel outside of the city limits of Flagstaff unless PRIOR Court or Pretrial Services permission is
           granted to do so.
D         only travel directly to the prosecuting district, and through all states and counties between the District of
          Arizona and the prosecuting district, for Court purposes and lawyer conferences unless PRIOR Court or
       ,. Pretrial Services permission is granted to travel elsewhere.
IZI       i avoidall direct or indirect contact with persons who are considered alleged victim(s) or potential
           witness( es).
IZI        shall report as directed to the U.S. PRETRIAL SERVICES 1-800-769-7609 or 928-744-2109, 123 North
           San Francisco Street, Flagstaff, Arizona 86001 .
D          not drive without a valid driver license.
D          execute an agreement to forfeit the bond or designated property upon failing to appear as required:
D          be released to the third-party custody of: and shall reside with the third-party custodian unless Pretrial
           Services approves the defendant to reside elsewhere.
           consume no alcohol. The defendant shall participate in alcohol treatment, submit to alcohol testing and
           make copayment toward the cost of such services, as directed by Pretrial Services. The defendant shall not
           obstruct or attempt to obstruct or tamper, in any fashion, with the efficiency and accuracy of any substance
           use testing or monitoring.
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~     not use or possess a narcotic drug or other controlled substance (as defined by 21 U.S.C. § 802) unless
      prescribed for the defendant by a licensed medical practitioner; this provision does not permit the use or
      possession of medicinal marijuana even with a physician's written certification. The defendant shall not
      possess, ingest, or otherwise use a synthetic cannabinoid or synthetic narcotic. The defendant shall
      participate in drug treatment and submit to drug testing and make copayment toward the cost of such
      services as directed by Pretrial Services. The defendant shall not obstruct or attempt to obstruct or tamper,
      in any fashion, with the efficiency and accuracy of any substance use testing or monitoring.
D     surrender all travel documents to Pretrial Services by and shall not obtain a passport or other travel
      document during the pendency of these proceedings.

D     not obtain a passport or other travel documents during the pendency of these proceedings.

D     maintain or commence an educational program and provide proof of such to Pretrial Services.
~     not possess or attempt to acquire any firearm, destructive device, or other dangerous weapon or
      ammunition.
D     abide by specified restrictions on personal associations, place of abode or travel.
~     maintain weekly contact with his attorney by Friday, noon of each week.
D     timely pay his/her monthly child support payments as previously ordered by the subject state court in the
      total amount of: $.
D     not obtain any new financial accounts without prior notification and approval of Pretrial Services.
~     participate in a mental health treatment program and comply with all the treatment requirements including
      taking all medication prescribed by the mental health care provider and make a copayment toward the cost
      of such services as directed by Pretrial Services.
D     resolve all pending lower court matters and provide proof of such to Pretrial Services.
D     participate in a Specialized Treatment Program and comply with all treatment requirements including
      taking all medications prescribed by a physician/psychiatrist and make a copayment toward the cost of
      services as directed by Pretrial Services.
D     register as a sex offender in compliance with all federal , state, tribal or local laws or as ordered by the
      court. Failure to comply with registration laws may result in new criminal charges.
      reside at an inpatient substance use treatment facility or a halfway house, as deemed appropriate, and shall
      follow all program requirements including the directions of staff members. The defendant is required to
      make a copayment toward the cost of services as directed Pretrial Services. The U.S. Marshals Service is
      authorized, if requested by the program director or an authorized staff member, to remove the defendant
      from the program for noncompliance at any time to include evenings, weekends and holidays and place
      the defendant in temporary custody pending court proceedings. Upon completion, the defendant is
      allowed to reside at a residence approved by Pretrial Services.
      banned from the Coconino, Kaibab, Prescott, and Apache-Sitgreaves National Forests, except to traveling
      through said areas on any local , state, and federal highways.
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                                           LOCATION MONITORING
The defendant shall participate in the following location monitoring program component(s) and shall abide by all
program requirements. The defendant shall pay all or part of the cost of the participation in the location
monitoring program as directed by the court or Pretrial Services.
          •      (Curfew) The defendant is restricted to his/her residence every day O from             to   or O as
                 directed by Pretrial Services.
          IZI    (Home Detention) The defendant is restricted to his/her residence at all times except for;
                 employment, education, religious services, medical, substance abuse or mental health treatment,
                 attorney visits, court appearances, court-ordered obligations, or other activities as pre-approved by
                 Pretrial Services.
          0      (Home Incarceration) The defendant is restricted to his/her residence at all times except for
                 medical necessities and court appearances or other activities specifically approved by the court.
           0     (Stand Alone Monitoring) The defendant has no residential curfew, home detention, or home
                 incarceration restrictions. However, you must comply with the location or travel restrictions as
                 imposed by the court.
                 Note: Stand Alone Monitoring should be used in conjunction with global positioning system
                 (OPS) technology.
The defendant shall submit to the location monitoring technology indicated below and shal l abide by all of the
technological requirements and instructions provided by Pretrial Services.
           IZI   Location monitoring technology at the officer's discretion
           0     Radio Frequency (RF) Monitoring
           0     Active OPS Monitoring
          •      Voice Recognition



                                 ADVICE OF PENALTIES AND SANCTIONS
        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for
contempt of court and could result in imprisonment, a fine, or both.
        While on release, if you commit a federal fe lony offense the punishment is an additional prison term of not
more than ten years and for a federal misdemeanor offense the punishment is an additional prison term of not
more than one year. This sentence will be consecutive (i.e., in addition) to any other sentence you receive.
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness,
victim, or informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the
court. The penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a
killing or attempted killing.
        If, after release, you knowingly fai l to appear as the conditions of release require, or to surrender to serve
a sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed.
If you are convicted of:
        (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
        - you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both.
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -
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       you will be fined not more than $250,000 or imprisoned for not more than five years, or both.
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or
       both.
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or
       both.
       A term of imprisonment imposed for failure to appear, or surrender wi ll be consecutive to any other
sentence you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.
                                          Acknowledgment of Defendant
       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I
promise to obey all conditions of release, to appear as directed, and to surrender for service of any sentence
imposed. I am aware of the penalties and sanctions set forth above.
    DATE:                        SIGNATURE OF DEFENDANT

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       Custodian agrees to (a) supervise the defendant in accordance with all conditions of release, (b) to use
every effort to assure the appearance of the defendant at all scheduled court proceedings, and to notify the court
immediately in the event the defendant violates any condition ofrelease or disappears. We, the undersigned, have
read and understand the terms of this bond and conditions ofrelease and acknowledge that we are bound by it until
duly exonerated.
I   SIGNATURE OF CUSTODIAN(S)



Directions to United States Marshal:
D The defendant is ORDERED released after processing.
IZI The United States Marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
    that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
    defendant must be produced before the appropriate judge at the f ·. 9!,Ild pla e speci d.


DATE: June 21, 2022
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                                                                  United States Magistrate Judge
